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                         IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH

TAYLOR HARPER,                                      MEMORANDUM DECISION AND
                                                    ORDER ON PARTIES’ MOTIONS FOR
                       Plaintiff,                   JUDGMENT AS A MATTER OF LAW
v.

MICHAEL TVETER,
                                                    Case No. 2:13-CV-889 TS
                       Defendant.
                                                    District Judge Ted Stewart


       This matter is before the Court on the parties’ Motions for Judgement as a Matter of Law.

The parties made their Motions orally at the conclusion of trial on September 2, 2015.

       Federal Rule of Civil Procedure 50(a) provides,

       If a party has been fully heard on an issue during a jury trial and the court finds
       that a reasonable jury would not have a legally sufficient evidentiary basis to find
       for the party on that issue, the court may:
       (A) resolve the issue against the party; and
       (B) grant a motion for judgment as a matter of law against the party on a claim or
       defense that, under the controlling law, can be maintained or defeated only with a
       favorable finding on that issue.

       In reviewing a Rule 50 Motion, the Court should review all of the evidence in the

record. 1 However, all reasonable inferences are drawn in favor of the nonmoving party

and the Court does “not make credibility determinations or weigh the evidence.” 2

Judgment as a matter of law is appropriate “only if the evidence points but one way and

is susceptible to no reasonable inferences which may support the opposing party’s


       1
           Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000).
       2
           Id.


                                                1
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position.” 3 A judgment as a matter of law is appropriate “[i]f there is no legally

sufficient evidentiary basis . . . with respect to a claim or defense . . . under the

controlling law.” 4

        Having considered the evidence and arguments presented on both sides, the Court finds

that neither party has shown their entitlement to judgment as a matter of law.

        It is therefore

        ORDERED that both parties’ Motions for Judgment as a Matter of Law are DENIED.

        DATED this 2nd day of September, 2015.

                                                BY THE COURT:



                                                Ted Stewart
                                                United States District Judge




        3
            Finley v. United States, 82 F.3d 966, 968 (10th Cir. 1996).
        4
            Baty v. Willamette Indus., Inc., 172 F.3d 1232, 1241 (10th Cir. 1999).


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